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                         UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT
                                Alexandria Division

UNITED STATES OF AMERICA,


 v.                                       Criminal Case No. 1:18-cr-00457


BIJAN RAFIEKIAN, et al.,

      Defendants.


                      Non-Party Michael Flynn’s Non-Confidential
                      Memorandum in Support of Motion for Leave
                              to File a Sealed Document


        Non-Party Michael T. Flynn will file a brief responding to a recent government

submission. It will relate to material that is already under seal, pursuant to order of

the Court. See Local Rule 49(D) (providing for the submission of confidential

memoranda regarding motions to seal); see also Nixon v. Warner Communications,

Inc., 435 U.S. 589, 602-03 (1978) (describing the test considered when determining

documents to which the public has a right of access). His brief should be under seal

only as long as the material to which it references remains under seal. Once the

underlying material is no longer under seal, the brief should be published on the

public docket.


Dated: July 8, 2019               Respectfully submitted,


                                        /s/ Jesse R. Binnall
                                        Jesse R. Binnall, VSB No. 79292
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                            CERTIFICATE OF SERVICE

      I hereby certify that on July 8, 2019, I filed the foregoing in the office of the

Clerk, which will provide notice to all counsel of record, using the CM/ECF system.



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